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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
              -v-                               :
                                                :      CRIMINAL NO. 23-443-RC
ELLIOT RESNICK,                                 :
         Defendant.                             :




           UNOPPOSED MOTION TO CONTINUE SENTENCING DATE



      Mr. Elliot Resnick, through undersigned counsel, respectfully submits this

Unopposed Motion for a Continuance and states as follows:

      1.      Sentencing is now scheduled for June 12, 2024 at 2:00 p.m.

      2.      It is hereby requested that sentencing be continued to September 19,

2024, at 2:00 p.m.

      3.      I make this request in light of counsel’s trial conflict with the current

date and the schedules of counsel for both parties, as well as the need to collect

mitigation materials and to prepare for the effective representation of Mr. Resnick

at sentencing.

      4.      Counsel for the government has no objection to this application, and I

understand that the government and the Court both have availability at the

requested date and time.
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Dated:      New York, New York
            May 22, 2024


                                          Respectfully submitted,

                                           /s/
                                          Clay H. Kaminsky
                                          Attorney for Defendant Elliot Resnick
                                          Federal Defenders of New York, Inc.
                                          52 Duane Street - 10th Floor
                                          New York, New York 10007
                                          Tel.: (212) 417-8749




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